                                                           DE37 IS GRANTED.




             IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE
                      NASHVILLE DIVISION

United States of America,              )
                                       )
                                       )
v.                                     )
                                       )       Case No. 3:25-cr-00115
                                       )       Judge Crenshaw
Kilmar Abrego Garcia                   )       Judge Holmes
                                       )
       Defendant.                      )
                                       )
                                       )


                      Motion to Substitute Counsel

      Defendant Kilmar Abrego Garcia, by and through his undersigned

counsel, hereby moves this Court for the entry of an Order substituting Rascoe

Dean, Sean Hecker, Jenna Dabbs, and David Patton as counsel of record for

Mr. Abrego Garcia and relieving Federal Public Defender Dumaka Shabazz

and Assistant Federal Public Defenders Will Allensworth, Richard Tennant,

and Richard Thomason of other or further responsibility in this cause. In

support thereof, Mr. Abrego Garcia states as follows:

      1. Federal Public Defender Dumaka Shabazz and Assistant Federal

Public Defenders Will Allensworth, Richard Tennant, and Richard Thomason

were originally appointed to represent Mr. Abrego Garcia in this matter.

(Order Appointing Federal Public Defender, DE 11, Page I.D. #53).




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